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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

STEPHEN BUSHANSKY, derivatively on)
                                  )
behalf of Education Management Corp,
                                  )                  Civil Action No. 2:12-cv-01101-TFM
             Plaintiff,
                                  )
       v.                         )                  Judge Terrence F. McVerry
TODD S. NELSON, JOHN R. McKERNAN, )
JR., PAUL J. SALEM, SAMUEL C.     )                  Electronically Filed
COWLEY, ADRIAN M. JONES, PETER    )
O. WILDE, and LEO F. MULLIN,      )
                                  )
             Defendants,          )
       and                        )
                                  )
EDUCATION MANAGEMENT CORP.,       )
             Nominal Defendant.   )

        STIPULATION AND [PROPOSED] ORDER OF VOLUNTARY DISMISSAL

       WHEREAS, by letter dated August 23, 2010, Plaintiff Stephen Bushansky, a putative

shareholder of Education Management Corporation (“EDMC” or the “Company”), made a

demand on EDMC’s Board of Directors (“EDMC Board”) that the EDMC Board investigate the

company’s policies regarding student recruiting, vocational training, and cost structure,

implement internal controls and revisions to its corporate governance practices and procedures,

and alleged the directors breached their fiduciary breaches;

       WHEREAS, the EDMC Board formed a Special Litigation Committee (“SLC”) in

November 2010 to investigate the claims in Plaintiff’s demand letter;

       WHEREAS, following an investigation of the factual and legal issues raised in Plaintiff’s

demand letter, the SLC produced a 105-page report that concluded the Company had a robust set

of internal controls designed to identify any deceptive and questionable practices; that these

controls were supported by a properly designed corporate governance structure; and that the

Company’s directors had not breached any fiduciary duty;
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       WHEREAS, the SLC concluded that it would not be in the best interest of the Company

or its shareholders to take the actions requested in Plaintiff’s demand letter and determined to

reject the demand;

       WHEREAS, on May 4, 2011, the SLC advised Plaintiff in writing of its determination to

reject his demand;

       WHEREAS, on August 3, 2012, Plaintiff filed the complaint in this action (the

“Complaint”), asserting a derivative claim on behalf of the Company against certain directors

and officers of the Company for breach of fiduciary duty (ECF No. 1);

       WHEREAS, on October 19, 2012, the individual Defendants Todd Nelson, John

McKernan Jr., Paul Salem, Samuel Cowley, Adrian Jones, Peter Wilde, and Leo Mullin moved

to stay this action or alternatively dismiss Plaintiff’s Complaint (ECF No. 26), and the SLC and

the Company as a nominal defendant moved to dismiss the Complaint (ECF Nos. 27 and 29);

       WHEREAS, by Order dated August 5, 2013, this Court granted the motion of the

individual Defendants to stay this action (ECF No. 58);

       WHEREAS, in granting this motion, the Court recognized that this case paralleled a

previously filed, then-pending, state court action, Oklahoma Law Enforcement Retirement

System v. Nelson et al., Case No. GD-12-008785 (Ct. Comm. Pleas Allegheny County) (Wettick,

J.) (“OLERS”), and held that “Judge Wettick’s final decision in the OLERS Action will have

significant, and perhaps dispositive, impact on this litigation because the issues are virtually

identical,” (ECF No. 58 at 2-3);

       WHEREAS, on August 25, 2015, the Court of Common Pleas ruled in favor of all

defendants and dismissed all claims in OLERS, including allegations about incentive

compensation and job placement statistics, (ECF No. 59-1);




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          WHEREAS, the decision in OLERS came after significant proceedings lasting over two

years, which included multiple expert reports from both plaintiff and the Special Litigation

Committee, discovery related to the issues raised in the OLERS complaint, extensive briefing,

and multiple hearings;

          WHEREAS, on August 31, 2015, Defendants filed a motion for relief from the stay and

requested a decision on the pending motions to dismiss (ECF Nos. 26, 27 and 29), arguing that

the decision in OLERS precluded Plaintiff’s lone claim in this matter (ECF No. 59 at 3-4);

          WHEREAS, in light of the foregoing, Plaintiff has decided to voluntarily dismiss this

action in light of, inter alia, the decision in OLERS and solely upon Plaintiff’s conclusion that,

under governing law, there is no reasonable basis to proceed;

          WHEREAS, Defendants do not oppose Plaintiff’s decision to voluntarily dismiss this

action;

          WHEREAS, Plaintiff and Defendants represent that neither Plaintiff nor his counsel has

received or will receive, directly or indirectly, any payment or other benefit in exchange for

dismissal of this action;

          WHEREAS, the parties agree that each side will bear its own costs and attorneys’ fees,

which is in the best interest of the Company to ensure timely and efficient resolution of this

matter;




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       IT IS HEREBY STIPULATED AND ORDERED that, pursuant to Federal Rules of

Civil Procedure 23.1(c) and 41(a)(1)(A)(ii), this action is hereby dismissed with prejudice as to

Plaintiff and without prejudice as to any other shareholder.

                                                      BY THE COURT:


                                                      s/ Terrence F. McVerry
                                                      ____________________________________
                                                      U.S. Sr. District Judge Terrence F. McVerry

Date: September 22, 2015                             Respectfully submitted,

  /s/ Anderson T. Bailey                              /s/ David C. Katz
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Counsel for Leo F. Mullin and Paul J. Salem, in
their capacity as members of a duly formed
Litigation Committee of the Board of Directors
of Education Management Corporation




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